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                          UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



  UNITED STATES OF AMERICA,               )       CASE NO. 1:13cr345-16
                                          )
                                          )
                      Plaintiff,          )       JUDGE CHRISTOPHER A. BOYKO
                                          )
               Vs.                        )
                                          )
 PIERRE CAMPBELL,                         )      ORDER ADOPTING
                                          )      REPORT AND RECOMMENDATION
                                          )      OF MAGISTRATE JUDGE
                                          )
                     Defendant.           )


        The above Defendant, accompanied by counsel, proffered a plea of guilty

 before Magistrate Judge White to Count One in the Indictment. The Court finds that the

 Defendant’s proffer of guilt was made under oath knowingly, intelligently and voluntarily

 and that all requirements imposed by the United States Constitution and Fed.R.Crim.P.

 11 are satisfied. THEREFORE, the Court adopts the Report and Recommendation of

 Magistrate Judge White, approves the plea agreement, accepts the Defendant’s offer of

 guilt and finds the Defendant guilty as charged in the Indictment.

        The signed Plea Agreement shall be filed as of the date of this Order.



        IT IS SO ORDERED.

                                                 s/Christopher A. Boyko
 Date 6/3/2015                                   CHRISTOPHER A. BOYKO
                                                 United States District Judge
